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 8
 9                          IN THE UNITED STATES DISTRICT COURT
10                        FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       ) No. 2:07-CR-0059 LKK
                                     )
13                  Plaintiff,       )
                                     ) ORDER AFTER HEARING
14        v.                         )
                                     )
15   VAN HUNG VI et al.,             ) Judge: Hon. Lawrence K. Karlton
                                     )
16                  Defendants.      )
     _______________________________ )
17
18        At the status conference held July 8, 2008, the Court granted the
19   parties’ request for additional time to prepare and scheduled a further
20   status conference for Wednesday, September 3, 2008, at 9:30 a.m.          The
21   Court ordered time excluded pursuant to 18 U.S.C. § 3161(h)(8)(A) and
22   (B)(ii) (Local Code T2) in light of the ongoing complexity of the case
23   and the hiring of new counsel by defendant Van Hung Vy.
24        IT IS SO ORDERED.
25
26   DATED:     July 11, 2008
27
28
